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 3
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 4
     Attorneys for Plaintiff
 5   ROTHSCHILD BROADCAST DISTRIBUTION SYSTEMS, LLC, a Texas limited liability
     corporation
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 7
                                  UNITED STATES DISTRICT COURT
 8                              NORTHERN DISTRICT OF CALIFORNIA
                                      ______________ DIVISION
 9
                                                           PATENT
10   ROTHSCHILD BROADCAST
11   DISTRIBUTION SYSTEMS, LLC,                            Case No. ______________

12                           Plaintiff,                    ORIGINAL COMPLAINT FOR
          v.                                               PATENT INFRINGEMENT
13                                                         AGAINST MANYTHING SYSTEMS
     MANYTHING SYSTEMS LIMITED,                            LIMITED
14

15                           Defendant.                    DEMAND FOR JURY TRIAL

16             Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “Rothschild

17   Broadcast Distribution Systems”) files this complaint against Defendant Manything Systems
18
     Limited (“Defendant” or “Manything”) for infringement of U.S. Patent No. 8,856,221
19
     (hereinafter the “`221 Patent”) and alleges as follows:
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                                                  PARTIES
21
     1.        Plaintiff is a Texas limited liability company with an office at 1400 Preston Road, Suite
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23   400, Plano, Texas 75093.

24   2.        Defendant is a California Corporation with its principal office in the United States
25   located at 71 Stevenson Street, San Francisco, California, 94105. Upon information and belief,
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     Defendant may be served with process at the same address.
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 1                                    JURISDICTION AND VENUE
 2   3.      This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq.
 3
     Plaintiff is seeking damages, as well as attorney fees and costs.
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     4.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and
 5
     1338(a) (Patents).
 6

 7   5.      On information and belief, this Court has personal jurisdiction over Defendant because

 8   Defendant has committed, and continues to commit, acts of infringement in this District, has

 9   conducted business in this District, and/or has engaged in continuous and systematic activities in
10   this District.
11
     6.      Upon information and belief, Defendant’s instrumentalities that are alleged herein to
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     infringe were and continue to be used, imported, offered for sale, and/or sold in the District.
13
     7.      Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is deemed
14

15   to be a resident in this District. Alternatively, acts of infringement are occurring in this District

16   and Defendant has a regular and established place of business in the District.

17                                            BACKGROUND
18
     8.      On October 7, 2014, the United States Patent and Trademark Office (“USPTO”) duly and
19
     legally issued the `221 Patent, entitled “System and Method for Storing Broadcast Content in an
20
     Cloud-Based Computing Environment” after the USPTO completed a full and fair examination.
21
     The ‘221 Patent is attached as Exhibit A.
22

23   9.      Rothschild Broadcast Distribution Systems is currently the owner of the `221 Patent.

24   10.     Rothschild Broadcast Distribution Systems possesses all rights of recovery under the
25   `221 Patent, including the exclusive right to recover for past, present and future infringement.
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     11.     The `221 Patent contains thirteen claims including two independent claims (claims 1 and
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     7) and eleven dependent claims.
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 1                                          COUNT ONE
                          (Infringement of United States Patent No. 8,856,221)
 2
     12.     Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same as if set
 3

 4   forth herein.

 5   13.     This cause of action arises under the patent laws of the United States and, in particular
 6   under 35 U.S.C. §§ 271, et seq.
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     14.     Defendant has knowledge of its infringement of the `221 Patent, at least as of the service
 8
     of the present complaint.
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     15.     Upon information and belief, Defendant has infringed and continues to infringe one or
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11   more claims, including at least Claim 1, of the ‘221 Patent by making, using, importing, selling,

12   and/or offering for media content storage and delivery systems and services covered by one or

13   more claims of the ‘221 Patent.
14   16.     Accordingly, Defendant has infringed, and continues to infringe, the `221 Patent in
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     violation of 35 U.S.C. § 271.
16
     17.     Defendant sells, offers to sell, and/or uses media content storage and delivery systems
17
     and services, including, without limitation, Manything security cameras together with the
18

19   Manything system and Manything Pro app, and any similar products (“Product”), which

20   infringes at least Claim 1 of the ‘221 Patent.

21   18.     The Product practices a method of storing (e.g., cloud storage) media content (e.g. live
22
     and recorded video) and delivering requested media content (e.g. view live footage and recorded
23
     clips) to a consumer device. Certain aspects of these elements are illustrated in the screen shots
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     below and/or in screen shots provided in connection with other allegations herein.
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18   19.     The Product necessarily includes at least one server for hosting and storing media content

19   for customers. For example, the Product necessarily includes at least one server (e.g. cloud
20
     server) to store recorded security videos.
21
     20.     The at least one server necessarily includes a first receiver configured to receive a request
22
     message including data indicating requested media content (e.g., the server must have
23
     infrastructure to receive a request to store recorded security videos or to stream recorded video
24

25   on a smartphone; additionally, the request message must contain data that identifies the video to

26   be stored or streamed) and a consumer device identifier corresponding to a consumer device
27   (e.g., the user credentials are used to tie a smartphone and user account to particular cameras and
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 1   the videos they produce). In the accused product, the cloud services (including camera view from
 2   cloud) can be accessed from web/mobile application (e.g. Manything Pro app) by signing in with
 3
     correct credentials. Certain aspects of these elements are illustrated in the screen shots below
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     and/or in screen shots provided in connection with other allegations herein.
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12   21.     The Product necessarily includes a processor to determine whether the consumer device
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     identifier corresponds to the registered consumer device (e.g., the server must authenticate a
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     user’s credentials to ensure that the credentials match those registered with a security camera
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     which the user would like to access). In the accused product, a user must be a registered user to
16
     access Manything cloud services. Certain aspects of these elements are illustrated in the screen
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18   shot below and/or in screen shots provided in connection with other allegations herein.

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25   22.     The Product provides for both media downloads and/or storage, and media streaming. As

26   per the information available, after successful login, a processor within the Product necessarily
27   determines whether the request received from a customer is a request for storage (e.g., recording
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 1   or storing content) or content (e.g. streaming of media content, live view). Certain aspects of
 2   these elements are illustrated in the screen shot below and/or in screen shots provided in
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     connection with other allegations herein.
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     23.     The server verifies that media content (e.g., specific recording from a specific camera)
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     identified in the media data of the storage request message (e.g., request to record content) is
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     available for storage in order to prevent data errors that would result from attempting to store
10

11   content that is not available for storage (e.g., the server must verify that a particular security

12   camera is adequately connected to the internet as to allow for video recording and storage on the
13   cloud; additionally, a user’s ability to store video is limited to a certain amount of memory usage
14
     based upon their subscription, thus media content may not be available for storage if a user is
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     already above their memory limit or if he hasn’t subscribed to any service). Also, in the accused
16
     product, the number of cameras supported is based on the activated subscription pack. The user
17

18   can also schedule the recording as per his or her requirement. Only the events happened during

19   the scheduled time will be eligible to be recorded on the clouds storage. Certain aspects of these

20   elements are illustrated in the screen shot below and/or in screen shots provided in connection
21   with other allegations herein.
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14   24.     If a customer requests content (e.g., live streaming of media content), then a processor
15   within the Product necessarily initiates delivery of the content to the customer’s device. The
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     server will initiate delivery of the requested media content to the consumer device (e.g. stream
17
     live camera feed to a smartphone or tablet or desktop computer) if the request message is a
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     content request message (e.g. request for live streaming). Certain aspects of these elements are
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20   illustrated in the screen shots below and/or in screen shots provided in connection with other

21   allegations herein.

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13   25.     The media data includes time data that indicates a length of time to store the requested

14   media content (e.g., a user is allowed to store videos for maximum of 30 days as based upon

15   their subscription level). Certain aspects of these elements are illustrated in the screen shots
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     below and/or in screen shots provided in connection with other allegations herein.
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28   26.      The server must first determine whether the requested media content exists prior to
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 1   initiating delivery in order to prevent data errors that would result from attempting to transmit
 2   media content that does not exist (e.g., the server must verify that a particular security camera is
 3
     adequately connected to the internet as to allow for video recording and streaming). Certain
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     aspects of these elements are illustrated in the screen shots below and/or in screen shots provided
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     in connection with other allegations herein.
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14   27.      After the processor determines whether the requested media content is available, it

15   determines whether there are restrictions associated with the requested media content (e.g.,

16   subscription level etc.).
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     28.     Defendant’s actions complained of herein will continue unless Defendant is enjoined by
18
     this Court.
19
     29.      Defendant’s actions complained of herein is causing irreparable harm and monetary
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     damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and
21

22   restrained by this Court.

23   30.    Upon information and belief, Defendant has induced, and continues to induce infringement
24   of the `221 Patent through its customers’ actions, at least as of the service of the present
25
     complaint.
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     31.     The `221 Patent is valid, enforceable, and was duly issued in full compliance with Title 35
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     of the United States Code.
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 1   32.          A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast Content in a
 2   Cloud-based Computing Environment,” is attached hereto as Exhibit A.
 3
     33.         By engaging in the conduct described herein, Defendant has injured Rothschild Broadcast
 4
     Distribution Systems and is thus liable for infringement of the `221 Patent, pursuant to 35 U.S.C.
 5
     § 271.
 6

 7   34.      Defendant has committed these acts of literal infringement, or infringement under the

 8   doctrine of equivalents of the `221 Patent, without license or authorization.

 9   35.      As a result of Defendant’s infringement of the `221 Patent, injured Rothschild Broadcast
10   Distribution Systems has suffered monetary damages and is entitled to a monetary judgment in
11
     an amount adequate to compensate for Defendant’s past infringement, together with interests and
12
     costs.
13
     36.      Plaintiff is in compliance with 35 U.S.C. § 287.
14

15   37.      As such, injured Rothschild Broadcast Distribution Systems is entitled to compensation for

16   any continuing and/or future infringement of the `221 Patent up until the date that Defendant

17   ceases its infringing activities.
18
                                          DEMAND FOR JURY TRIAL
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     38.         Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of Civil
20
     Procedure, requests a trial by jury of any issues so triable by right.
21
                                              PRAYER FOR RELIEF
22

23               WHEREFORE, Plaintiff asks the Court to:

24         (a)     Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;
25         (b) Enter an Order enjoining Defendant, its agents, officers, servants, employees, attorneys,
26
           and all persons in active concert or participation with Defendant who receives notice of the
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           order from further infringement of United States Patent No. 8,856,221 (or, in the alternative,
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 1      awarding Plaintiff running royalty from the time judgment going forward);
 2      (c) Award Plaintiff damages resulting from Defendants infringement in accordance with 35
 3
        U.S.C. § 284;
 4
     (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law or
 5   equity.
 6   April 9, 2019                                  By     /s/Steven A. Nielsen
 7                                                         Steven A. Nielsen
     OF COUNSEL:                                           100 Larkspur Landing Circle, Suite 216
 8                                                         Larkspur, CA 94939
                                                           PHONE 415 272 8210
 9   Jay Johnson                                           E-MAIL: Steve@NielsenPatents.com
     (Application for Admission Pro Hac Vice to
10   be filed)                                             Attorneys for Plaintiff Rothschild
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     jay@kjpllc.com
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